
USCA1 Opinion

	




                           UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                              _________________________
          No. 96-2090
                              UNITED STATES OF AMERICA,
                                      Appellee,
                                         v.
                                 WILLIAM P. PITRONE,
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                      [Hon. Nancy Gertner, U.S. District Judge]
                              _________________________
                                       Before
                                Selya, Circuit Judge,
                      Coffin and Bownes, Senior Circuit Judges.
                              _________________________
               Peter 
                    B. 
                       Krupp, with whom Lurie &amp; Krupp LLP was on brief, for
          appellant.
               Nadine 
                     Pellegrini
                              , 
                                Assistant United States Attorney, with whom
          Donald  K. Stern,  United  States  Attorney, was  on  brief,  for
          appellee.
                              _________________________
                                    May 22, 1997
                              _________________________

                    SELYA, Circuit Judge.
          examine  a matter of  first impression:   the degree of  scienter
          needed for a felony conviction under 16 U.S.C. S 707(b) (1994), a
                                           This harlequinade requires us to
                   
          part of  the Migratory  Bird  Treaty Act  (MBTA).   Detecting  no
          reversible  error  in  the  district  court's  rejection  of  the
          defendant's 
                     proffered jury instruction or in any other respect, we
          affirm the judgment of conviction.
          I.  THE STATUTORY SCHEME
                    In 
                      1916, 
                            the 
                                United States and Great Britain (acting for
          Canada)  negotiated a  treaty to  protect migratory  birds.   See
          Convention for the  Protection of Migratory  Birds in the  United
          States and Canada, Aug.  16, 1916, U.S.-Can., 39 Stat. 1702;  see
          also S. Rep.  No. 99-445 (1986),  reprinted in 1986  U.S.C.C.A.N.
          6113, 6114  (reviewing the MBTA's  historical antecedents).   The
          treaty provides  for the  safeguarding of  migratory birds  whose
          pilgrimages traverse international  borders.  To effectuate  this
          commitment,
                    1
                      
                      Congress enacted the MBTA in 1918.  The United States
          Department 
                    of the Interior is charged with administering the MBTA,
          see
             
             16 
                U.S.C. 
                      S 
                        701 
                            (1994), and the Secretary has promulgated a web
          of 
            regulations.  The statute and the regulations offer substantial
          shelter to migratory birds within the United States.
                    This 
                        case 
                            pirouettes 
                                       around a provision of the MBTA which
                1The MBTA also  is in service to other treaty  obligations.
          See, e.g, Convention  for the Protection  of Migratory Birds  and
          Birds 
               in 
                  Danger 
                        of 
                           Extinction and Their Environment, March 4, 1972,
          U.S.-Japan, 25  U.S.T.  3329; Convention  for the  Protection  of
          Migratory Birds and  Game Mammals, Feb. 7, 1936, U.S.-Mexico,  56
          Stat. 1347.
                                          2

          criminalizes the taking and selling of migratory birds:
                    Whoever,  in violation  of  this  subchapter,
                    shall knowingly  
                         (1) take  by any  manner whatsoever  any
                    migratory bird with intent to sell, offer  to
                    sell, barter or offer to barter such bird, or
                         (2) 
                            sell, 
                                  offer for sale, barter or offer
                    to barter, any migratory bird shall be guilty
                    of  a  felony  and  shall  be  [punished   as
                    provided].
          16 
            U.S.C. 
                   S 
                     707(b) (1994).  Under this proviso, it is unlawful for
          a taxidermist to receive money or compensation in exchange for  a
          migratory 
                   bird 
                       other 
                             than from a person who originally provided the
          bird and  requested the  taxidermy  services.   See 50  C.F.R.  S
          21.24(c)(1), (2)  (1996).   In  other  words, a  taxidermist  may
          receive, 
                  transport, possess, and mount migratory birds for another
          person, but he may not sell any migratory birds (mounted or  not)
          which he has taken out of the wild.
          II.  BACKGROUND
                    Following accepted practice, we sketch the facts in the
          light most favorable to the jury verdict, consistent with  record
          support. 
                   
                   See
                       
                      United 
                             States v. Staula, 80 F.3d 596, 599 (1st Cir.),
          cert. denied, 117 S. Ct. 156 (1996); United States v.  Echeverri,
          982 F.2d 675, 676 (1st Cir. 1993).
                    Defendant-appellant William P. Pitrone is a taxidermist
          by 
            trade 
                  and 
                      a huntsman by choice.  Pitrone frequented sportsmen's
          shows at which he offered for sale mounted game birds.  In  early
          1993, a browser, Chris Giglio, spotted a protected migratory bird
          (a 
            Common 
                   Eider) 
                         among 
                               the birds that Pitrone displayed for sale at
                                          3

          a 
           show 
                held 
                     in 
                       Boston. 
                                
                                When Giglio began questioning Pitrone about
          the Eider,  Pitrone immediately  inquired whether  Giglio was  "a
          warden" and,  upon receiving an  assurance that  Giglio was  not,
          freely discussed  his  operation and  produced a  business  card.
          Giglio suspected  that  Pitrone  was violating  federal  law  and
          informed 
                  the 
                      Interior Department's Fish and Wildlife Service (FWS)
          of his suspicions.
                    At the behest  of the FWS, Giglio contacted Pitrone  by
          telephone and  arranged to  visit  him at  his home  in  Medford,
          Massachusetts.    Once  inside,  Giglio  observed  that   Pitrone
          maintained a  large  inventory  of mounted  waterfowl.    Pitrone
          declared that all the mounts were for sale.  When Giglio reported
          this information  to the  FWS, the  agents smelled  smoke.   They
          outfitted Giglio with  cash and a clandestine body recorder,  and
          sent 
              him 
                  back 
                      to 
                         Pitrone's residence in search of fire.  During the
          ensuing 
                 conversation, 
                              Pitrone volunteered that he had recently been
          to 
            Alaska 
                   to 
                     hunt 
                          Harlequin ducks (a protected species of migratory
          bird) 
               and 
                   claimed to have bagged 42 of them.  He also said that he
          sold 
              standing mounts for $50 apiece, flying mounts for $60 apiece,
          and Harlequin mounts for $75 apiece.
                    On 
                      May 
                          13, 
                             1993, 
                                   Giglio 
                                          returned to Pitrone's abode, this
          time accompanied by an undercover FWS agent.  During this meeting
          (which 
                Giglio 
                      surreptitiously recorded), Pitrone crowed that he had
          sold the 42  Harlequin mounts for $75  each, and he described  in
          colorful 
                  language the enthusiasm with which decoy carvers clamored
          to purchase them.  When asked why Harlequins cost more than other
                                          4

          mounts, Pitrone replied that the price differential reflected the
          additional cost he had  incurred in travelling to Alaska to  hunt
          them.
                    By the fall of 1995, the FWS had its ducks in a row and
          a 
           federal 
                   grand 
                        jury 
                             returned an eight-count indictment.  At trial,
          the 
             prosecution 
                        relied, 
                                i
                                 nter alia, on the testimony of Giglio, FWS
          agent Robert Garabedian,  and four of  Pitrone's customers.   One
          customer, James Olenick,  told Pitrone in  advance of the  Alaska
          hunting 
                 trip 
                      that he would be interested in purchasing a Harlequin
          duck if Pitrone bagged  one.  Olenick subsequently bought such  a
          duck from  Pitrone (a transaction that  formed the basis for  the
          count of  conviction).   After  the FWS  investigation  surfaced,
          Pitrone contacted Olenick and  suggested that, if approached,  he
          should tell the FWS agents that the duck was merely a "leftover,"
          implying that Pitrone  gave it to  him as a  gift.  James  Boone,
          another 
                 customer, stated that he had purchased mounts from Pitrone
          and had provided him  with a "wish list"  of mounts he sought  to
          purchase.  A third customer, Donald Todd, testified that  Pitrone
          contacted him after a sale of two mounts and requested that Todd,
          if questioned  by the FWS,  tell the agents  that his payment  to
          Pitrone had not  been for merchandise  received but for  services
          rendered. 
                    
                    A 
                     fourth 
                            customer, George Anzivino, said Pitrone bragged
          that he had sold all the  Harlequin ducks he had shot in  Alaska,
          that 
              the 
                  hunt 
                      had 
                          cost 
                               him $2400, and that he had recouped the cost
          by selling the birds.  Later, Pitrone admonished Anzivino not  to
          mention their conversation to anyone.
                                          5

                    The trial lasted  for six days.   In the end, the  jury
          acquitted 
                   Pitrone on seven counts, but found him guilty on count 2
          (the knowing sale of a Harlequin duck).  Following the imposition
          of sentence, Pitrone sought refuge in this court.
          III.  ANALYSIS
                    On appeal,  Pitrone  grouses about  two rulings.    One
          complaint implicates the jury instructions and the other  centers
          around the admission of evidence.  We discuss these remonstrances
          separately.
                             A.  The Jury Instructions.
                    If  a  party  asserts   that  an  error  infected   the
          instructions  given to  a  trial  jury, a  reviewing  court  must
          determine if the  instructions "adequately illuminate[d] the  law
          applicable to the  controlling issues in the case without  unduly
          complicating matters or  misleading the jury."  United States  v.
          Destefano
                  , 
                    59 
                      F.3d 
                           1, 
                              3 
                                (1st Cir. 1995).  When, as now, the alleged
          error involves the interpretation of the elements of a  statutory
          offense, 
                  it 
                     poses 
                          a 
                            question of law and sparks plenary review.  See
          United States v. Carroll, 105 F.3d 740, 744 (1st Cir. 1997).
                    In this instance,  Judge Gertner instructed the  jurors
          that, in order to convict on count 2, they must find that Pitrone
          acted knowingly.  This  meant, the judge explained, that "he  was
          conscious 
                   and aware of his actions, realized what he was doing and
          what  was  happening around  him,  and  did not  act  because  of
          ignorance, mistake, or accident."  The government, she added, did
          not need "to prove that the defendant knew that his actions  were
                                          6

          unlawful," 
                    but 
                        he 
                          "must 
                                know within the meaning of the statute that
                                                                          t
                 that it did not  require the government to prove that  th
          he  was  selling a  bird."    Pitrone requested  a  more  lenien
          instruction and objected to the instruction actually given on the
          ground                                                          e
          defendant knew his actions contravened federal law.
                    On appeal,  Pitrone widens  the scope  of his  barrage.
          While he  renews his claim that  the government should have  been
          required to  prove beyond  a reasonable  doubt that  he knew  his
          conduct was unlawful  (and, therefore, that the jury should  have
          been  so instructed),  he goes  on to  raise a  new and  entirely
          different  point:   that the  instruction afforded  the jury  was
          defective because it did not require the government to prove that
          he knew he was selling a  migratory bird.  We address the  second
          claim first.
                    Pitrone cannot duck one basic fact:  he did not  object
          below to the omission of a specific statement that the government
          must 
              prove 
                    that 
                        he 
                           knew 
                                he was selling a migratory bird (as opposed
          to a bird, simpliciter).  For all intents and purposes, that ends
          the  matter.   We  have been  steadfast  in treating  as  forfeit
          objections 
                    to a judge's charge that might have been, but were not,
          raised 
                below 
                      in the approved manner.2  See, e.g., United States v.
               2A party who objects to jury instructions in a criminal case
          must follow a regime that is  delineated in Fed. R. Crim. P.  30.
          The rule provides in pertinent part:
                    No party may assign  as error any portion  of
                    the charge or omission therefrom unless  that
                    party objects thereto before the jury retires
                    to consider  its verdict, stating  distinctly
                    the 
                       matter 
                              to which that party objects and the
                                          7

          Griffin, 818  F.2d 97, 99-100 (1st  Cir. 1987); United States  v.
          Coady, 809 F.2d 119, 123 (1st Cir. 1987); cf. Putnam Resources v.
          Pateman,  958 F.2d  448,  456  (1st Cir.  1992)  (holding,  under
          substantially identical civil counterpart, that "[s]ilence  after
          instructions  .  .  .  typically  constitutes  a  waiver  of  any
          objections").
                    To be sure, we  still retain the power to grant  relief
          under the plain error doctrine, notwithstanding that Pitrone  did
          not 
             preserve 
                      this claim of error.  Fed. R. Crim. P. 52(b).  Still,
          a party who  asks an appellate tribunal  to correct an error  not
          preserved at the  trial level must demonstrate "(1) `error,'  (2)
          that is  `plain,'  and (3)  that `affects  substantial  rights.'"
          Johnson v. United States, ___ S. Ct. ___, ___ (U.S. May 12, 1997)
          [No. 96-203, slip op. at 7] (quoting United States v. Olano,  507
          U.S. 
              725, 
                   732 
                      (1993)). 
                                
                                Even then, the appellate court may exercise
          its  discretion to correct  a forfeited error  only if the  error
          seriously  impairs  the  integrity  and  basic  fairness  of  the
          proceedings.  See id.  Given these criteria, it is apparent  that
          "the 
              plain 
                    error hurdle is high."  United States v. Hunnewell, 891
          F.2d 955, 956 (1st Cir. 1989).  Pitrone cannot surmount it here.
                    For present  purposes, we need  look only  to the  last
          element of the test.  In the district court, there was never  any
          issue about whether a Harlequin duck was a migratory bird (it is)
          or whether Pitrone,  a nimrod of note,  knew as much (it  strains
          credulity 
                   to 
                      suggest 
                             he 
                                did not).  In this regard, the instructions
                    grounds of the objection.
                                          8

          that he  proposed are  telling; he beseeched  the lower court  to
          charge 
                the 
                    jury 
                        "that 
                              the government must prove beyond a reasonable
          doubt:  first, that Mr. Pitrone actually knew that he was selling
          the migratory  birds, as  opposed to  giving away  the birds  and
          charging 
                  only 
                       for 
                          his 
                              mounting services (emphasis supplied)."  This
          proposed instruction  assumes that  Pitrone knew  he was  selling
          migratory 
                   birds, 
                         as 
                            demonstrated by the repeated use of the article
          "the."  And, moreover, Pitrone has limned no plausible basis  for
          believing that he lacked such knowledge.
                    Where, 
                          as 
                             here, 
                                  a 
                                    defendant criticizes a jury instruction
          on a  ground not  raised below, and  does so on  the basis of  an
          alleged error induced at least in part by his implied concessions
          before the  district court,  it will  be infrequent  that he  can
          satisfy the  fourth furcula  of the plain  error test.   In  this
          respect, 
                  the 
                      case at hand is not a rara avis.  Thus, the omission,
          if error  at all    a matter on which we  do not opine   did  not
          "seriously affect the  fundamental fairness" of Pitrone's  trial,
          Griffin,  818 F.2d at  100, and, thus,  did not constitute  plain
          error.   See  Johnson,  ___  S.  Ct. at  ___  [slip  op.  at  11]
          (suggesting, in  words appropriate here,  that "it  would be  the
          reversal of a conviction such  as this" which would run afoul  of
          fundamental fairness).
                    We turn next to the compass of the term "knowingly"  as
          that 
              word 
                   is 
                      used in MBTA S 707(b).  The statute proscribes, inter
          alia, "knowingly" taking migratory birds with intent to sell them
          and 
             "knowingly" selling such birds.  Since the meaning of the word
                                          9

          "knowingly" 
                     is neither precisely defined in the statute itself nor
          immediately obvious in  the statutory context,  we resort to  the
          legislative 
                     history. 
                              
                              See
                                  United States v. Ven-Fuel, Inc., 758 F.2d
          741, 757-58 (1st Cir. 1985).
                    For 
                       most 
                            of 
                              its 
                                  existence, the MBTA contained no scienter
          requirement whatever; its felony provision, like its  misdemeanor
          provision, 
                    16 U.S.C. S 707(a), imposed strict liability.  See Pub.
          L. 86-732, 40  Stat. 756 (1960) (amended  by Pub. L. 99-645,  100
          Stat. 3590 (1986)).  But in 1985, the Sixth Circuit held that the
          felony provision   section 707(b)   ran afoul of the  Due Process
          Clause 
                on 
                   this 
                       account. 
                                 
                                 See United States v. Wulff, 758 F.2d 1121,
          1125 
              (6th 
                   Cir. 
                       1985). 
                               
                               The following year, Congress amended section
          707(b) 
                to 
                   meet the Wulff court's objection by including an element
          of scienter, that is, by adding the modifier "knowingly."  See S.
          Rep. 99-445, supra, 1986 U.S.C.C.A.N. at 6128.  Congress  clearly
          indicated that, by inserting this word, it sought only to require
          proof that "the defendant knew (1) that his actions constituted a
          taking, sale, barter, or offer to sell or barter, as the case may
          be, 
             and 
                 (2) 
                    that 
                         the 
                             item so taken, sold, or bartered was a bird or
          portion thereof."  Id.   At the same time, Congress warned  that:
          "It 
             is 
                not 
                    intended that proof be required that the defendant knew
          the  taking,  sale,  barter  or offer  was  a  violation  of  the
          subchapter, 
                     nor that he know the particular bird was listed in the
          various international treaties implemented by this Act."  Id.
                    Against 
                           this 
                                backdrop, Pitrone's assertion that the word
          "knowingly" modifies the phrase "in violation of this subchapter"
                                         10

          and, thus, requires proof of specific intent in order to convict,
          is unconvincing.  When it is  necessary to go beyond the text  in
          construing 
                    criminal statutes, meaning ordinarily should be derived
          by "draw[ing] upon context,  including the statute's purpose  and
          various background legal principles, to determine which states of
          mind accompany which particular elements of the offense."  United
          States  v.  Gendron, 18  F.3d  955, 958  (1st  Cir. 1993).    The
          appellant's 
                     interpretatio
                                 n of the MBTA flouts this precept:  it not
          only  involves a  forced  reading of  the  text but  also  flatly
          contradicts  Congress's  stated  purpose.    We  are,  therefore,
          disinclined to swallow it.
                    We find encouragement for this disinclination in United
          States
                
                v. 
                   Flores
                        , 
                          753 
                              F.2d 1499 (9th Cir. 1985), a case which posed
          an analogous  interpretive problem.   Determining  that the  word
          "knowingly" in 18 U.S.C. S 922(e) modified the phrase  describing
          the 
             prohibited 
                        act 
                            
                             
                             delivering or causing to be delivered firearms
          to any common carrier without written notice   the Ninth  Circuit
          read the language naturally and held that the government need not
          prove a specific intent to violate the statute.  See id. at 1505.
          In reaching this  conclusion, the court stressed "the absence  of
          words  such as  `intent'  and  `willfully,'  which  traditionally
          accompany specific  intent  crimes" and  the  lack of  any  other
          indication 
                    that 
                        Congress 
                                 purposed to require an element of specific
          intent. 
                  
                  Id.
                      
                      
                      The 
                          instant case is a supercharged version of Flores;
          in drafting the  amendment to section  707(b), Congress not  only
          omitted language indicating that it specifically intended to make
                                         11

          specific  intent  an  element of  the  offense  but  also  stated
          positively that it did not intend to do so.
                    Pitrone tries  to make an  end run  around the  lessons
          taught by  the legislative history,  citing a  plethora of  cases
          headed 
                by 
                   Rat
                      zlaf v. United States, 510 U.S. 135 (1994).  But this
          argument overlooks (or, at least, fails to acknowledge) that  the
          element 
                 of 
                    willful intent and the element of scienter are birds of
          a very different feather:  the cases which the appellant includes
          in 
            this 
                 string 
                       citation 
                                stand for the proposition that knowledge of
          the 
             unlawfulness of one's conduct is required when the statutorily
          prohibited 
                    behavior 
                            includes an element of willful intent.  See id.
          at 143-49; United States v.  Jain, 93 F.3d 436, 439-41 (8th  Cir.
          1996); 
                United
                       States v. Sanchez-Corcino, 85 F.3d 549, 552-54 (11th
          Cir. 1996); United States v. Curran, 20 F.3d 560, 566-71 (3d Cir.
          1994).
                    Here,  the  proposition  is  beside  the  point.    The
          applicable statute, section  707(b), requires  the government  to
          prove 
               a 
                 knowing act, but it does not require proof of willfulness.
          That makes  a world  of difference.   "Knowingly"  has a  meaning
          distinct 
                  from 
                      "willfully" in the lexicon of statutory construction.
          See United States v. Hayden, 64 F.3d 126, 129-30 (3d Cir.  1995).
          Thus, courts consistently have rejected arguments   as we do here
            which posit that the term "knowingly," standing alone, requires
          the prosecution to show that the defendant knew his behavior  was
          unlawful, instead interpreting "knowingly"    as we do here    to
          require no more than that "the defendant know he was engaging  in
                                         12

          the prohibited conduct."  Id. at 130 (collecting cases); 
          United States    Sherbondy, 865 F.2d 996, 1001-03 (9th Cir. 1988)
          (explaining
                                                                   see also
                        v. 
                       that  "knowingly"  does  not  ordinarily  include  a
          requirement 
                     that the defendant have had knowledge of the law).  By
          contrast, "willfully"   a word which is conspicuously absent from
          section 
                 707(b)   sometimes has been construed to require a showing
          that the defendant knew  his behavior transgressed the law.   See
          Ratzlaf, 510 U.S. at  141-43.  We decline  either to read into  a
          statute a  word that Congress purposely  omitted, or, on our  own
          initiative, 
                     to 
                       rewrite 
                               Congress's language by ascribing to one word
          a meaning traditionally reserved for a different word.
                    Pitrone 
                           also 
                                floats a bareboned constitutional argument.
          Citing 
                Wulff
                     , 
                      758 
                          F.2d 
                               at 1124-25, he contends that section 707(b),
          read  as we  propose to  read  it, remains  subject to  the  same
          constitutional 
                        infirmity 
                                 which prompted the Sixth Circuit to strike
          down  the earlier  (unamended) version.   This  argument was  not
          advanced below, and for that reason, it will not fly here.3   See
          Teamsters, Chauffeurs, Warehousemen &amp; Helpers Union v.  Superline
          Transp. 
                 Co., 
                      953 F.2d 17, 21 (1st Cir. 1992) ("If any principle is
          settled 
                 in 
                    this circuit, it is that, absent the most extraordinary
          circumstances, legal  theories not raised  squarely in the  lower
          court cannot be broached for the first time on appeal.").
            
            
             
              
              3
               In 
                  all 
                      events, the argument has little substance.  The Wulff
          court  declared  that,  in  order  for  section  707(b)  to  pass
          constitutional muster, "Congress must require the prosecution  to
          prove 
               the 
                   defendant acted with some degree of scienter."  758 F.2d
          at 1125.  But Congress repaired this defect, and there is nothing
          in the Constitution which requires the government to prove, in  a
          case like this, that the defendant knew his conduct was unlawful.
                                         13

                    Finally,  the appellant  hawks  the importance  of  the
          Supreme 
                 Court's 
                        decision 
                                 in Liparota v. United States, 471 U.S. 419
          (1985). 
                  
                  There, the Court held that, when prosecuting a person for
          violation  of  the statute  governing  food  stamp  fraud  (which
          prohibits  the  "knowing"  acquisition  of  food  stamps  in   an
          unauthorized manner, 7 U.S.C. S 2024(b)(1)), the government  must
          prove the defendant knew that his conduct was unauthorized.   481
          U.S. 
              at 
                 433. 
                       We think Liparota is distinguishable.  First, unlike
          in this case, the legislative history of the provision before the
          Liparota Court shed no light  on what Congress meant by the  term
          "knowing violation."  See id. at 424-25.  Second, the Food  Stamp
          Act covers a variegated array of conduct undertaken by  literally
          millions of  people, many of whom  are unencumbered by a  working
          knowledge 
                   of 
                      the regulatory labyrinth.  These facts, together with
          the sheer volume of food stamp transactions which occur, create a
          high 
              probability 
                         of 
                            unauthorized, yet innocent, transfers.  See id.
          at  426.    Thus,  the  Liparota  Court  sought  to  prevent  the
          criminalization of a wide range of innocent behavior.  See id.
                    In sharp  contrast, the  felony provision  of the  MBTA
          prohibits 
                   conduct that occurs on a much smaller scale and which is
          much more  likely to be  committed by  individuals familiar  with
          existing  protections   for  migratory   birds  (e.g.,   hunters,
          taxidermists,  scientists,  or  artisans  whose  trades   require
          knowledge 
                   of 
                     birds' 
                            habits and attributes).  Consequently, applying
          the 
             scienter 
                     requirement 
                                 in the manner described in the legislative
          history of section 707(b) does  not pose the same type of  threat
                                         14

          that prompted the Liparota Court to condition a conviction  under
          the 
             Food 
                  Stamp Act upon proof that the defendant knew his behavior
          was unauthorized by law.
                    Broadly speaking,  it is within  the discretion of  the
          legislature to define  the elements of  statutory offenses.   See
          United States v. Hudson,  11 U.S. (7 Cranch)  32, 34 (1812).   In
          drafting 
                  the 
                      MBTA 
                          and 
                              thereafter in amending it, Congress carefully
          defined the elements of the offense created under section 707(b).
          In 
            doing 
                  so, 
                      it 
                        left 
                             no 
                                room for ignorance of the law as a defense.
          Thus, we  are  constrained to  give  section 707(b)  its  natural
          reading, under which the word "knowingly" applies to the putative
          offender's actions rather than to the legality of those  actions.
          This 
              reading 
                      comports with the plain meaning of the MBTA, with the
          usual  canons of  statutory  construction,  and  with  Congress's
          revealed intent.  Since the district court's instructions to  the
          jury 
              followed 
                       this 
                           path, 
                                 we cannot honor the appellant's assignment
          of error.
                                  B.  The Evidence.
                    Pitrone also protests the district court's admission of
          two 
             types 
                   of 
                      evidence, namely, (1) evidence anent his hunting trip
          to Alaska, and (2) evidence anent his sales (and intended  future
          sales) 
                of 
                   birds.  In each instance, he maintains that the evidence
          ought 
               to 
                  have 
                      been 
                           barred as impermissible character evidence.4  We
            
            
             
              
              4
               Pitrone 
                      premises 
                               this exhortation on Fed. R. Evid. 404(b) and
          403.  Rule 404(b) provides in pertinent part:
                    Evidence of other crimes, wrongs, or acts  is
                    not admissible to  prove the  character of  a
                                         15

          review rulings  admitting  or  excluding evidence  for  abuse  of
          discretion.  See United States v. Rivera-Gomez, 67 F.3d 993,  997
          (1st Cir. 1995).  When Rule  403 balancing is in issue, we  grant
          especially 
                    wide 
                        latitude 
                                 to the district court's informed judgment.
          See id.
                    Here, 
                         both 
                              aspects 
                                     of 
                                        the evidentiary squabble originally
          arose 
               in 
                 pretrial 
                          proceedings.  Pitrone filed a motion in limine to
          exclude evidence relating to his journey to Alaska and his  boast
          that he killed more than 40 Harlequin ducks on that trip (selling
          the skins for $50 each and the mounts for $75 each).   He filed a
          separate motion to exclude evidence of sales of birds other  than
          those 
               which 
                     were the subject of specific counts in the indictment.
          The district  court  denied  both motions,  concluding  that  the
          challenged 
                    proffers not only provided direct evidence of the crime
          charged 
                 but 
                    also 
                         furnished relevant extrinsic evidence illustrating
          Pitrone's intent to hunt and sell the Harlequins, as well as  the
          existence of  a plan  to  do so.   The  prosecution  subsequently
                    person in order to show action in  conformity
                    therewith. 
                               
                               It may, however, be admissible for
                    other purposes,  such  as  proof  of  motive,
                    opportunity,   intent,   preparation,   plan,
                    knowledge, identity, or absence of mistake or
                    accident . . . .
          In turn, Rule 403 provides:
                    Although 
                            relevant, evidence may be excluded if
                    its   probative   value   is    substantially
                    outweighed by the danger of unfair prejudice,
                    confusion of  the issues,  or misleading  the
                    jury, or  by considerations  of undue  delay,
                    waste of  time, or  needless presentation  of
                    cumulative evidence.
                                         16

          introduced 
                    the 
                       evidence 
                                at trial and argued its significance to the
                     ssuming, 
                             wit
                      were properly preserved, 
          jury.
                    A           hout deciding, that Pitrone's objections to
          the 
             evidence 
                                               cf. Conway v. Electro Switch
          Corp., 825 F.2d 593, 596 n.1 (1st Cir. 1987), his claim of  error
          nonetheless is  unavailing.   In  the  count of  conviction,  the
          government charged Pitrone  with the knowing sale of a  Harlequin
          duck.  Testimony regarding his Alaskan sojourn and his subsequent
          sales 
               of 
                  Harlequin 
                           skins 
                                 and mounts comprises direct evidence which
          helps to  establish the crime charged.   Because the evidence  is
          directly probative of the crime, Pitrone's contention that it  is
          impermissible
                       "other act" evidence is well wide of the mark.  See,
          e.g., United States v.  Hadfield, 918 F.2d 987, 994-95 (1st  Cir.
          1990).
                    The 
                       evidence 
                                of 
                                  past 
                                       (and future intended) sales of birds
             consisting largely  of statements made  by Pitrone during  the
          course 
                of 
                  commercial 
                             transactions   is plainly relevant to illumine
          Pitrone's intent even  though these sales are not themselves  the
          basis of  the charges preferred against  him.  Since Rule  404(b)
          evidence appropriately can  be admitted for such a purpose,  see,
          e.g., United States v. Bank of  New Eng., 821 F.2d 844, 858  (1st
          Cir.  1987),  the appellant's  claim  that  it  is  impermissible
          character evidence founders.5
               5If more were needed   and  we doubt that it is   we note in
          passing that the evidence  of past sales was imbricated with  the
          charged crime and helped to put that crime into context.  On that
          basis, too,  the evidence  was relevant.   See  United States  v.
          DiSanto, 86 F.3d 1238, 1252-53 (1st Cir. 1996), cert. denied, 117
                                         17

                    Moving  to  Rule  403,  we  do  not  find  that  either
                                  evidence is prejudicial   if the truth be
          evidentiary line carried with it an unacceptable risk of improper
          prejudice. 
                     
                    Virtually 
                              all
          told, 
               that 
                    is 
                      almost 
                             always why the proponent seeks to introduce it
            but it is only unfair prejudice against which the law protects.
          See
             
             Rivera-Go
                      mez, 67 F.3d at 997 (collecting cases); United States
          v. Rodriguez-Estrada,  877  F.2d  153, 155-56  (1st  Cir.  1989).
          Evidence should  function to "help  the jury reconstruct  earlier
          events and then apportion guilt or responsibility as the law  may
          require" and  "Rule 403 exists  to facilitate  that process,  not
          impede it."  Rivera-Gomez, 67 F.3d at 998.  Because the  judicial
          officer who  presides at a trial  has a unique perspective  which
          enables her to make assessments of this kind knowledgeably, "only
          rarely 
                 
                  
                 and 
                     in 
                        extraordinarily compelling circumstances   will we,
          from  the vista of  a cold appellate  record, reverse a  district
          court's on-the-spot judgment concerning the relative weighing  of
          probative 
                   value and unfair effect."  Freeman v. Package Mach. Co.,
          865 F.2d 1331, 1340 (1st Cir. 1988).
                    In 
                      the 
                          case 
                               at bar, these tenets augur favorably for the
          lower 
               court's rulings.  Under the terms of the MBTA, Pitrone could
          not knowingly sell a Harlequin duck.  He could, however, sell his
          services  as a  taxidermist.   Evidence  of  the sale  prices  of
          Harlequin duck skins and mounts, as contrasted with the prices of
          other 
               bird 
                    mounts 
                          sold 
                               by him, laid the foundation for a permissive
          S. Ct. 1109 (1997); United States v. Rodriguez-Estrada, 877  F.2d
          153, 155 (1st Cir. 1989).
                                         18

          inference that the higher price for a Harlequin duck reflected an
          actual charge for the bird, above and beyond a reasonable  charge
          for taxidermy services.  Evidence of the trip to Alaska helped to
          explain  the  reason  for the  price  differential  and  to  show
          opportunity.  The evidence  of Pitrone's statements provided  the
          jury with valuable insights into Pitrone's motives.  All in  all,
          the challenged evidence possessed considerable probative value.
                    The opposite pan of the scale is nearly empty.  For one
          thing,  the appellant  has not  credibly shown  how the  evidence
          threatened 
                    to trigger any of the dangers that Rule 403 bids courts
          to 
            monitor. 
                      
                     For 
                         another 
                                 thing, there is nothing in the record that
          leads 
               us 
                  to 
                    believe 
                            that 
                                 the jury, which acquitted Pitrone on seven
          other counts, was improperly influenced by this evidence.   Given
          the 
             easily 
                    discernible asymmetry   substantial probative value and
          negligible risk  of unfairly prejudicial effects    we descry  no
          abuse  of discretion  in the  district court's  admission of  the
          evidence.
          IV.  CONCLUSION
                    We 
                      need 
                           go 
                              no further.  From aught that appears, Pitrone
          was tried fairly and convicted lawfully in a proceeding untainted
          by reversible error.  No more is exigible.
          Affirmed.
                                         19


